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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 DAREN LEVIN, Individually and on Behalf of           Docket No.: 1:15-cv-07081-LLS
 All Others Similarly Situated,

                               Plaintiff,             DECLARATION OF
                                                      NICHOLAS I. PORRITT IN
 v.                                                   SUPPORT OF PLAINTIFFS’
                                                      MOTION FOR CLASS
 RESOURCE CAPITAL CORP., JONATHAN Z.                  CERTIFICATION
 COHEN, DAVID J. BRYANT, ELDRON C.
 BLACKWELL, and DAVID E. BLOOM,

                               Defendants.




       I, NICHOLAS I. PORRITT, declare as follows:

       1.      I am an attorney duly licensed to practice in this Court. I am a member of the law

firm Levi & Korsinsky LLP, counsel of record for Lead Plaintiff in the above-captioned action. I

respectfully submit this declaration in support of Plaintiffs’ Motion for Class Certification,

Appointment of Class Representatives, and Appointment of Class Counsel. I have personal

knowledge of the matters asserted herein and, if called upon, I could and would competently testify

thereto.

       2.      Attached are true and correct copies of the following exhibits:

               Exhibit A:     Report on Market Efficiency by Professor Steven P. Feinstein,
                              Ph.D., CFA, dated June 2, 2017; and

               Exhibit B:     Firm Resume of Levi & Korsinsky LLP.

       3.      On May 26, 2017, Plaintiffs submitted a stipulation to the Clerk to be so ordered

by the Court. The stipulation requested leave from the Court to file a pleading with an amended

class definition. The stipulation also requested a modification to the current Scheduling Order,

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dated March 24, 2017 (Dkt. No. 48), whereby Defendants’ time to oppose Plaintiffs’ motion for

class certification and Plaintiffs’ time to file a reply in further support of the motion for class

certification would each be extended by two weeks. Plaintiffs attached a copy of the proposed

amended pleading with the modified class definition to the stipulation.

          4.           On June 1, 2017, the Court so-ordered the parties’ stipulation, and Plaintiffs filed

the Second Amended Complaint for Violation of Federal Securities Laws shortly thereafter that

same day (Dkt. No. 55).

          5.           The Report on Market Efficiency by Professor Steven P. Feinstein, Ph.D., CFA,

dated June 2, 2017, is provided in support of Plaintiffs’ motion for class certification. Plaintiffs,

by counsel, asked Dr. Feinstein to determine whether the securities of Resource Capital Corp.

traded in efficient markets during the period from October 31, 2012 through August 5, 2015. The

securities at issue are Resource Capital Corp.’s common stock; Series B Preferred Stock; and

Series C Preferred Stock.

          6.           The firm resume of Levi & Korsinsky LLP is also provided in support of Plaintiffs’

motion for class certification. The firm resume demonstrates Levi & Korsinsky’s expertise in the

area of securities fraud class action litigation and resources to litigate this matter in an effective

manner.

          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 2nd day of June 2017, in Washington, D.C.




                                                             s/ Nicholas I. Porritt              .
                                                             NICHOLAS I. PORRITT


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